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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                              Magistrate Judge Michael J. Watanabe

  Civil Action No. 13-cv-02469-RM-MJW                       FTR - Courtroom A-502

  Date:    December 03, 2013                                Courtroom Deputy, Ellen E. Miller

          Parties                                                   Counsel

  RANDALL J. HATLEE and                                     Brice A. Tondre
  RONALD L. SWIFT,

          Plaintiff(s),

  v.

  CINDY HARDEY,                                             Timothy P. Schimberg
  BOBBI PRIESTLY,                                           John M. Lebsack
  MONTE GORE,
  FRED WEGENER, and
  ASHLEIGH OLDS,

          Defendant(s).


                              COURTROOM MINUTES / MINUTE ORDER

  HEARING: RULE 16(b) SCHEDULING CONFERENCE
  Court in session: 11:00 a.m.
  Court calls case. Appearances of counsel.
  For the purposes of discovery, the parties are noted as “party/party group” as follows:
  ! Plaintiffs: Randall J. Hatlee and Ronald L. Swift
  ! Hardey defendants: Cindy Hardey, Bobbi Priestly, Monte Gore, Fred Wegener
  ! Olds defendant: Ashleigh Olds

  The following will confirm the actions taken and dates set at the scheduling conference
  held this date:

  Joinder of Parties/Amendment to Pleadings:     JANUARY 15, 2014

  Discovery Cut-off:      JUNE 30, 2014

  Dispositive Motions Deadline:     JULY 31, 2014

  Each party/party group shall be limited to four (4) retained expert witnesses, without further
  leave of Court.
  Parties shall designate experts on or before APRIL 01, 2014
  Parties shall designate rebuttal experts on or before MAY 01, 2014
  The disclosure of Experts shall be consistent with Fed. R. Civ. P. 26(a)2(B).
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  Interrogatories, Requests for Production, and Requests for Admissions shall be served on or
  before MAY 29, 2014.
  Each party/party group shall be limited to twenty-five (25) Interrogatories, twenty-five (25)
  Requests for Production, and twenty-five (25) Requests for Admissions, without leave of
  Court.

  Each side shall be limited to ten (10) depositions. Each deposition shall be limited to one (1)
  day of a maximum of seven (7) hours, absent leave of Court. All depositions, fact and expert
  witnesses, shall be completed no later than JUNE 30, 2014.
  Parties shall use deposition exhibits numbered in consecutive order, not separated as Plaintiff
  Exhibits or Defendant Exhibits.


  FINAL PRETRIAL CONFERENCE set for OCTOBER 01, 2014 at 9:00 a.m.
  in Courtroom A-502, Fifth floor, Alfred A. Arraj United States Courthouse, 901 19th Street,
  Denver, Colorado 80294.
  The proposed final pretrial order shall be filed on or before SEPTEMBER 24, 2014.
  In accordance with Fed.R.Civ.P. 16(e), the conference shall be attended by at least one of the
  attorneys who will conduct the trial for each of the parties and by any unrepresented parties.

  TRIAL:
  The parties anticipate a seven (7) day trial to a jury.
  Judge Raymond P. Moore will set a Trial Preparation Conference and Trial at a future date.
  ! Parties are directed to www.cod.uscourts.gov regarding Judicial Officers’ Procedures and shall fully comply
  with the procedures and Practice Standards of the judicial officer assigned to try this case on the merits.

  Anyone seeking entry into the Alfred A. Arraj United States Courthouse will be required to show
  a valid current photo identification. See D.C.COLO.LCivR 83.2B. Failure to comply with this
  requirement may result in denial of entry to the courthouse.

  Absent exceptional circumstances, no request for rescheduling any appearance in this court will
  be entertained unless a written request is made FIVE (5) business days in advance of the date of
  appearance.

  Counsel are reminded that a new edition of local rules D.C.COLO.LCivR is in effect as of
  DECEMBER 01, 2013.


  [X]    Scheduling Order is signed and entered with interlineations DECEMBER 03, 2013


  Hearing concluded.

  Court in recess:           11:28 a.m.             Total in-court time: 00:28
  To order a transcript of this proceedings, contact Avery Wood Reports   (303) 825-6119 or   Toll Free   1-800-962-3345.




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